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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: VIOXX MARKETING, SALES                    *     MDL NO. 1657
PRACTICES, and PRODUCTS                          *
LIABILITY LITIGATION                             *     SECTION L
                                                 *
WILLIMINA WHEATON, on behalf of                  *     CASE NO. 05-00496
all surviving heirs, and on behalf of            *
ROSIE L. WHEATON, Deceased,                      *
                                                 *     JUDGE ELDON E. FALLON
               Plaintiff,                        *
v.                                               *     MAGISTRATE JUDGE
                                                 *     DANIEL E. KNOWLES, III
MERCK & CO., INC., a foreign                     *
corporation,                                     *
                                                 *     PLAINTIFF DEMANDS TRIAL
               Defendant.                        *     BY STRUCK JURY

(THIS DOCUMENT RELATES TO: Janet Sue Morgan, et al. vs. Merck & Co.; Civil
Action No. 3:03cv435, MDL 05-0957)
                                   ORDER

        (Motion for Leave to Amend Complaint and Motion to Substitute Plaintiff)

       THIS CAUSE comes before the Court on Motion for Leave to Amend Complaint and

Motion to Substitute Plaintiff submitted by the Plaintiff, Willimina Wheaton, on behalf of all

surviving heirs and on behalf of Rosie L. Wheaton, deceased, pursuant to Rules 15(a) and 25(a)

of the Federal Rules of Civil Procedure.    Along with the Motion for Leave to Amend the

Complaint and Motion to Substitute Plaintiff, the Plaintiff has submitted the proposed amended

complaint.

       It is hereby ORDERED that Rosie L. Wheaton’s Motion for Leave to Amend Complaint

and Motion to Substitute Plaintiff be GRANTED. The Clerk of the Court is directed to receive

the Amended Complaint and to show it as filed.

               DONE this the ___ day of July, 2007.



                                                 ___________________________________
                                                 ELDON E. FALLON
                                                 UNITED STATES DISTRICT JUDGE
